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                            United States District Court
                                 District Of Maine


Angela S. Johnson,                      )
                                        )
          Plaintiff,                    )
                                        )
v.                                      )     Docket No. 1:18-cv-54-JAW
                                        )
Molina Information Systems, LLC         )
d/b/a Molina Medicaid Solutions;        )
and Molina Healthcare, Inc.             )
                                        )
          Defendants.                   )



             First Amended Complaint and Demand For Jury Trial and
                            Injunctive Relief Sought


                               Summary of the Action

     1.    Ms. Johnson worked for Unisys for over eight years and then for its

successor, Molina Information Systems, LLC, a wholly-owned subsidiary of

Molina Healthcare, Inc., for another four years. In 2012, she received a

promotion to Manager of Operations and a five percent raise, and in early

2013, she received an additional merit-based ten percent raise. All of her

written annual and quarterly performance evaluations, including her August

2014 evaluation, were positive.

     2.     On October 10, 2014, Molina abruptly terminated Ms. Johnson less

than one week after she suffered a flare-up of her Meniere’s disease and
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requested medical leave and reasonable accommodations of temporarily

working from home and taking leave. Departing from its standard

progressive discipline practice, Molina did not give Ms. Johnson any

warnings or other progressive discipline before her sudden termination.

   3.   As a result of Defendants’ intentional discrimination, denial of

reasonable accommodations, retaliation, and interference with Ms. Johnson’s

right to protected leave, Ms. Johnson is seeking all available remedies,

including back pay and benefits, compensatory damages, punitive damages,

reinstatement or front pay in lieu of reinstatement, liquidated damages,

declaratory relief, and attorneys’ fees and expenses.

                                    Parties

   4.   Plaintiff, Angela S. Johnson, is a citizen of the United States and is a

resident of Augusta, County of Kennebec, Maine.

   5.   Defendant Molina Information Systems, LLC, d/b/a Molina Medicaid

Solutions, is a corporation doing business in Maine and organized under the

laws of the State of California. Molina Information Systems, LLC provides

design, development, implementation, and business process outsourcing

solutions to state governments for their Medicaid Management Information

Systems as a state’s contracted fiscal agent.

   6.   Defendant Molina Information Systems, LLC, is a wholly-owned

subsidiary of Defendant Molina Healthcare, Inc.

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   7.   Defendant Molina Healthcare, Inc., is a corporation doing business in

Maine and organized under the laws of the State of Delaware. Molina

Healthcare, Inc. is a FORTUNE 500 multi-state health care organization that

arranges for the delivery of health care services and offers health information

management solutions to nearly five million individuals and families who

receive their care through Medicaid, Medicare and other government-funded

programs in fifteen states.

                              Jury Trial Demand

   8.   Under Fed. R. Civ. P. 38(b), Plaintiff demands trial by jury on all

issues triable by a jury.

                              Jurisdiction and Venue

   9.   This action arises under the Americans with Disabilities Act, as

amended, 42 U.S.C §§ 12101 et seq.; the Maine Human Rights Act, 5 M.R.S.

§§ 4551 et seq.; Section 504 of the Rehabilitation Act of 1973, as amended, 29

U.S.C.A. § 794; the Family Medical Leave Act, 29 U.S.C. § 2601 et seq.; the

Maine Family Medical Leave Requirements law, 26 M.R.S. § 844; and

Maine’s personnel file law, 26 M.R.S. §§630-631. This Court has proper

subject matter jurisdiction over Plaintiff’s federal claims under 28 U.S.C.

§ 1331 (federal question) and supplemental jurisdiction over Plaintiff’s state

law-based claims.



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   10.   Venue is proper in the District of Maine under 28 U.S.C. § 1391(a).

Under Rule 3(b) of the Rules of this Court, this action is properly filed in

Bangor because Plaintiff’s employment was based out of the town of Augusta

in Kennebec County.

                           Administrative Procedure

   11.   On June 23, 2015, Ms. Johnson filed a complaint for disability

discrimination, retaliation in employment, and denial of reasonable

accommodation against Molina with the Maine Human Rights Commission

(MHRC) and Equal Employment Opportunity Commission (EEOC).

   12.   The MHRC unanimously determined that there were reasonable

grounds to believe that Molina discriminated against Ms. Johnson on the

basis of her disability and unlawfully retaliated against her based on her

reasonable accommodation requests when it terminated her employment on

October 10, 2014. The MHRC determined that there were no reasonable

grounds to believe that Molina denied Ms. Johnson a reasonable

accommodation.

   13.   On October 16, 2017, the Equal Employment Opportunity

Commission issued a Notice of a Right to Sue to Ms. Johnson.

   14.   On November 14, 2017, the Maine Human Rights Commission issued

a failure-of-conciliation letter to Ms. Johnson.



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   15.   Under 5 M.R.S.A. §4622, Ms. Johnson has satisfied one or more of

the prerequisites to be awarded attorney fees and all available damages

under the Maine Human Rights Act.

   16.   Ms. Johnson has exhausted all administrative remedies for all claims

in this action that require administrative exhaustion.

   17.   While Ms. Johnson’s claims were pending at the Maine Human

Rights Commission, the parties entered into a tolling agreement to toll the

statute of limitations for filing Ms. Johnson’s federal FMLA claim in court.

Following the Maine Human Rights Commission’s decision on Ms. Johnson’s

claims, the parties entered into a tolling agreement to toll the statutes of

limitations for filing all of Ms. Johnson’s claims against Molina.

                                Factual Allegations

   18.   Molina Healthcare, Inc. and Molina Information Systems, LLC,

functioned as a single and/or joint employer of Ms. Johnson throughout her

employment.

   19.   Molina Healthcare, Inc. and Molina Information Systems, LLC have

closely interrelated operations and hold themselves out to the public as a

single entity.

   20.   Molina Healthcare, Inc. and Molina Information Systems, LLC share

the same corporate headquarters in Long Beach, California.



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   21.   Molina Healthcare, Inc. and Molina Information Systems, LLC share

the same website, molinahealthcare.com.

   22.   Molina Healthcare, Inc. and Molina Information Systems, LLC have

common ownership and management.

   23.   All Molina Healthcare, Inc. employees, regardless of whether they

work for Molina Information Systems, LLC or another division of Molina

Healthcare, Inc., report up to the same senior leaders based at the company’s

corporate headquarters in Long Beach, California.

   24.   Molina Healthcare, Inc., exercised significant authority over Ms.

Johnson’s working conditions and job duties, including her job description,

employment rank, and associated pay rates and benefits.

   25.   Molina Healthcare, Inc. has a single company-wide intranet system,

which makes the following information available to all employees regardless

of whether they work for Molina Information Systems, LLC, or another

division of Molina Healthcare, Inc: (a) information on company-wide policies

and practices, such as the employee handbook; (b) announcements, stories,

and photos or achievements from other Molina locations, and (c) tools for

managers, including an employee toolkit with the progressive disciplinary

forms and instructions.

   26.   Ms. Johnson’s email signature block identified her as a “Molina

Healthcare” Operations Manager and her email address included

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“molinahealthcare,” as did the email addresses of all employees company-

wide.

     27.   As of 2012/2013, all new Molina Healthcare, Inc. employees are

required to attend a single new employee orientation at the company’s Long

Beach, California, headquarters to get training on company-wide policies,

regardless of whether they work for Molina Information Systems, LLC, or

another division of Molina Healthcare, Inc.

     28.   Molina Healthcare, Inc. participated in the decision whether to grant

Ms. Johnson reasonable accommodations for her disability and whether to

terminate her employment. 1

     29.   Ms. Johnson began working for Unisys Corporation beginning in

2002.

     30.   In February 2010, Molina purchased the Unisys Corporation where

Ms. Johnson worked.

     31.   At all relevant times during Ms. Johnson’s employment, including in

the 2014 and 2015, Molina received federal financial assistance. Molina’s

receipt of federal financial assistance makes it subject to Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. §794.




1Unless otherwise specified, Molina Healthcare, Inc., and Molina Information Systems,
LLC, are collectively referred to herein as “Molina” or “Defendants.”

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   32.   Molina Information Systems, LLC had over 500 employees in 20 or

more calendar weeks in the calendar year of or the calendar year preceding

Ms. Johnson’s termination, 2013 and 2014.

   33.   Molina Healthcare, Inc., had over 500 employees in 20 or more

calendar weeks in the calendar year of or the calendar year preceding Ms.

Johnson’s termination, 2013 and 2014.

   34.   In 2012, Ms. Johnson received a promotion to Manager of Operations

in Molina’s Augusta, Maine location, overseeing the call center and provider

enrollment.

   35.   Ms. Johnson received a five percent raise with her promotion.

   36.   Ms. Johnson performed the duties of her job as an Operations

Manager well.

   37.   In early 2013, Ms. Johnson received an additional merit-based ten

percent raise.

   38.   All of Ms. Johnson’s written annual and quarterly performance

evaluations, including her most recent 2014 evaluation, were positive.

   39.   Ms. Johnson’s “Q1 2014” quarterly evaluation, filled out by

Supervisor Peter Gray and given to Ms. Johnson in or around August 2014,

rated Ms. Johnson positively in all areas.

   40.   The August 2014 quarterly evaluation from Mr. Gray indicated that

Ms. Johnson “generally communicated clearly and collaborated well,”

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“applied effective judgment,” was “knowledgeable in his/her functional area,”

“met expectations in achieving goals,” and “made progress toward achieving

his/her developmental plans.”

   41.   On or about October 4, 2014, Ms. Johnson had a flare-up of her

Meniere’s disease, consisting of severe seizure-like vertigo episodes.

   42.   As of October 2014, Ms. Johnson’s Meniere’s disease had been largely

asymptomatic for the past decade.

   43.   Ms. Johnson’s Meniere’s disease symptoms include hearing loss

(tinnitus), an unbalanced gait and, during a flare-up, severe seizure-like

vertigo episodes.

   44.   On the morning of October 6, 2014, Ms. Johnson emailed Brex-Anna

Bernstein, Molina’s leave administrator, with information about the history

and recent flare-up of her Meniere’s disease.

   45.   Ms. Johnson explained to Ms. Bernstein that she would need some

time off to see her doctor and get her symptoms under control, and requested

paperwork from Ms. Bernstein for FMLA and short-term disability leave.

   46.   That same day, Ms. Johnson also advised her immediate supervisor,

Peter Gray, that she was experiencing severe vertigo symptoms, had a

scheduled appointment with her primary care provider in the morning, and

therefore would not be at work that day due to her health issues.



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   47.   On the morning of October 7, 2014, Ms. Johnson saw her primary

care provider, Monica J. White, PA-C, who prescribed additional medication

and advised that the vertigo episodes could be the beginning of a flare-up in

her Meniere’s disease.

   48.   Ms. Johnson’s provider also filled out the FMLA certification

paperwork requesting intermittent FMLA leave for Ms. Johnson’s

incapacitating Meniere’s episodes, for an estimated one hour at a time, three

times per week for the intermittent episodes.

   49.   The FMLA certification paperwork restricted Ms. Johnson to

“work[ing] from home until current flare resolved.”

   50.   Ms. Johnson sent the completed FMLA paperwork to Ms. Bernstein

on October 7, 2014.

   51.   On October 8, Ms. Bernstein advised Ms. Johnson that her request

for intermittent FMLA leave of three hours per week was approved, but that

she needed to correspond with human resources about her reasonable

accommodation request to work from home.

   52.   Molina has permitted other senior leaders and managers in positions

comparable to Ms. Johnson’s, including Terrance Southward (Operations

Manager), Tina Dubois (Operations Manager), and Jessica Moretti

(Operations Manager –Finance), to work from home for days or weeks at a

time.

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   53.   On October 8, 2014, Ms. Johnson emailed both Ms. Bernstein and

Augusta-based human resources representative Jonathan Jensen with

detailed information about her Meniere’s disease and her physician’s

restriction that she work from home until her Meniere’s flare-up resolved.

   54.   Ms. Johnson’s October 8 emails to Ms. Bernstein and Mr. Jensen

made clear that her reasonable accommodation request to work from home

was not indefinite, stating: “I would hope the site will choose to accommodate

this medical restriction for me at this time, for a period of time, not forever. I

am trying to get past the recurrence of episodes to have this all behind me.”

   55.   Ms. Johnson emphasized in her October 8 emails to Ms. Bernstein

and Mr. Jensen that she was medically restricted to working from home and

this was not simply a request based on convenience.

   56.   Ms. Bernstein suggested that working from home might not be

reasonable given Ms. Johnson’s position as a “people manager,” and Ms.

Johnson advised Ms. Bernstein that “We have several people man[a]gers who

work remotely on differing schedules; with far more direct reports than I (and

no medical restrictions).”

   57.   Ms. Bernstein asked Ms. Johnson to return completed disability

accommodation request and authorization forms within two weeks, by

October 22, 2014.



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   58.   On October 8, 2014, Mr. Jensen advised Ms. Johnson by email that

he would “work with . . . HR Corporate” to “entertain your request to work

from home via ADA.”

   59.   Mr. Jensen further stated to Ms. Johnson that “I would think that to

start with a DR’S note outlining the restriction for you to remain at home or

something to that effect would be a good start. Thanks for your patience as I

muddle through this.”

   60.   Ms. Johnson was able to perform the essential functions of her job

with reasonable accommodation.

   61.   Ms. Johnson’s request to work from home was sufficiently direct and

specific so as to put Molina on notice of her need for an accommodation.

   62.   Ms. Johnson held a good faith and objectively reasonable belief that

her request for an accommodation had merit.

   63.   Less than twenty-four hours later, on October 9, 2014, Molina denied

Ms. Johnson’s reasonable accommodation request of working from home.

   64.   Molina denied Ms. Johnson’s reasonable accommodation request

before even receiving the completed disability accommodation paperwork,

which Ms. Bernstein had just given to Ms. Johnson the day before.

   65.   The denial of Ms. Johnson’s reasonable accommodation request of

working from home, in the form of an email from Mr. Jensen, stated:



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     After a careful review of your request, it has been determined that
     [Molina Healthcare] is unable to approve your accommodation request
     to work from home. Due to the needs of the client, current projects, and
     your level of responsibility, we are unable to accommodate this request.
     You are expected to return to the office tomorrow, October 10, 2014 at
     8am EST. This denial completes the processing of your request for
     reasonable accommodation.

  66.   Surprised by the sudden denial of her accommodation request, on

October 9 Ms. Johnson asked Mr. Jensen what information was considered in

making the decision, and pointed out that Molina regularly permitted other

comparable senior leaders and managers without medical restrictions to work

from home, and requested that Mr. Jensen provide her with Molina’s work-

from-home policy.

  67.   Mr. Jensen never replied to Ms. Johnson’s request for a copy of

Molina’s work-from-home policy.

  68.   On October 9, Ms. Johnson explained to Ms. Bernstein that the

denial of her accommodation request seemed “premature,” particularly

because Molina had not yet received the supporting disability accommodation

paperwork from her physician, which was not due until October 22.

  69.   Ms. Bernstein simply responded that Ms. Johnson was required to

work with Mr. Jensen on her accommodation request.

  70.   Later in the day on October 9, Ms. Johnson suffered yet another

Meniere’s episode.



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   71.   Ms. Johnson informed Ms. Bernstein of the additional episode of

Meniere’s and that she would be unable to come to work the following day,

and asked for Ms. Bernstein’s guidance in obtaining additional leave.

   72.   Ms. Bernstein responded that if Ms. Johnson needed full (rather than

intermittent) FMLA leave she would need to fill out additional FMLA

paperwork.

   73.   Ms. Johnson’s request for leave was sufficiently direct and specific so

as to put Molina on notice of her need for an accommodation.

   74.   Ms. Johnson held a good faith and objectively reasonable belief that

her request for an accommodation had merit.

   75.   Later on October 9, Ms. Bernstein sent Ms. Johnson additional

FMLA paperwork to be filled out by her physician to support her request for

continuous FMLA leave.

   76.   On the morning of October 10, Ms. Johnson’s immediate supervisor,

Peter Gray, directed her to call his office that day at 11:30 a.m.

   77.   When Ms. Johnson called Mr. Gray’s office at the appointed time, she

was placed on a conference call with Mr. Gray, Mr. Jensen, regional district

manager Del Bell, the regional district manager, and regional human

resources representative Krishna Powell.

   78.   Mr. Bell informed Ms. Johnson that effective immediately her

employment was terminated “for cause.”

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   79.   Ms. Johnson asked what the “cause” for her termination was and Mr.

Bell merely responded that it was “not related at all” to her request for

medical accommodations but gave no further explanation.

   80.   When Ms. Johnson asked again what why she was being fired, Mr.

Jensen said he did not have that information.

   81.   Ms. Powell merely stated that the cause was for not meeting

performance expectations.

   82.   Although Molina had a standard practice of administering

progressive discipline to address performance issues for all Molina

employees, as instructed by the Managers’ toolkit on the company-wide

intranet, Molina did not follow that practice to address Ms. Johnson’s

purported “performance” issues.

   83.   During the October 10 phone call, Ms. Johnson said to Ms. Powell

that Molina had a standard practice of using progressive discipline to address

performance issues and asked Ms. Powell why progressive discipline had not

been used with her as it had been with everyone else.

   84.   Ms. Powell said she heard what Ms. Johnson was saying about the

departure from the standard progressive discipline practice, but said that

management had made its decision and the decision was final.

   85.   Other senior leaders in positions comparable to Ms. Johnson’s,

including Jessica Moretti (Operations Manager – Finance) and Anita Mosley

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(Systems Operations Manager), received verbal and written warnings under

Molina’s standard progressive discipline policy and practice.

   86.   After the October 10 termination phone call, Ms. Johnson wrote Mr.

Jensen to ask for an explanation of the reason for her termination. He

responded that she was an “at-will” employee and he did not have to give her

a reason for the termination.

   87.   In early October 2014, Ms. Johnson requested her personnel file from

Mr. Jensen and was provided with a packet of documents.

   88.   After her termination, Ms. Johnson inquired about documents she

believed were missing from the personnel file she had been given, and Mr.

Jensen responded on November 6, 2014 with two additional documents and

stated that neither he nor “corporate” had “any additional records concerning

your employment with Molina.”

   89.   On January 7, 2015, Ms. Johnson, through counsel, requested her

complete personnel file under 26 M.R.S. §631, including “[a]ll documents

concerning the decision to terminate Ms. Johnson’s employment on October

10, 2014,” and further requested “the written reasons for the termination of

Ms. Johnson’s employment” under 26 M.R.S. §630.

   90.   Molina produced a personnel file of nearly 100 Bates-stamped pages.

   91.   On October 27, 2015, after Ms. Johnson filed her Maine Human

Rights Commission complaint for disability discrimination and over ten

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months after Ms. Johnson’s counsel requested her complete personnel file

and reasons for termination, Molina produced a memo purportedly written by

Peter Gray on September 2, 2014, recommending Ms. Johnson’s termination.

   92.   The purported September 2, 2014 memo had not been shared with

Ms. Johnson previously, had not been produced in response to Ms. Johnson’s

requests for her official personnel file and reasons for her termination, and

had not been produced in response to counsel’s January 7, 2015 request for

her personnel file and reasons for her termination.

   93.   After the termination, Molina claimed that they did not fire Ms.

Johnson until October 10, more than a month after the purported September

2 memo, because they were unable to schedule an in-person meeting with Ms.

Johnson during that period; however, Ms. Johnson was in the office

throughout that period and in any event Molina ultimately fired Ms. Johnson

by phone.

   94.   Molina failed to timely produce Ms. Johnson’s personnel file and

written statement of the reasons for her termination.

   95.   Molina failed to act in good faith and failed to engage in the

interactive process of determining whether Ms. Johnson’s Meniere’s disease

could be reasonably accommodated.

   96.   Molina acted with malice and reckless disregard for Ms. Johnson’s

rights protected under the Maine Human Rights Act, the American with

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Disabilities Act, Section 504 of the Rehabilitation Act of 1973, the Family

Medical Leave Act, and the Maine Family Medical Leave Requirements law.

   97.   Ms. Johnson was discriminated against because of her disability,

denied reasonable accommodations for her disability, and retaliated against

for requesting reasonable accommodations for her disability and for

requesting and taking medical leave protected by law.

                                   Legal Claims

   I.     Disability Discrimination, Denial of Reasonable Accommodations,
 Retaliation, and Intentional and Willful Interference of Employee’s Rights
               and Retaliation For Requesting Medical Leave

   98.   The allegations in paragraphs 1-97 are realleged.

   99.   Defendants have intentionally discriminated against Ms. Johnson

because of her disability, and retaliated and discriminated against her for

requesting a reasonable accommodation for her disability, in violation of the

Maine Human Rights Act, 5 M.R.S. §§4551-4634, the Americans with

Disabilities Act, 42 U.S.C. §§ 12101 et seq., section 504 of the Rehabilitation

Act of 1973, as amended, 29 U.S.C. § 794, and intentionally and willfully

interfered with her rights and retaliated against her for exercising her rights

to request and use leave protected by the Family Medical Leave Act, 29

U.S.C. § 2601 et seq., and the Maine Family Medical Leave Requirements

law, 26 M.R.S. § 844.



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   100. Ms. Johnson is pursuing all possible methods of proving this

discrimination and retaliation, including but not limited to, circumstantial

and direct evidence, pretext evidence, as well as causation based on a single

unlawful motive and mixed motives, including an unlawful motive.

   101. As a direct and proximate result of Defendants’ intentional

discrimination, denial of reasonable accommodation, retaliation, and

intentional and willful interference with Plaintiff’s rights to protected

medical leave and reasonable accommodations, Plaintiff has suffered and will

continue to suffer damages, including, but not limited to, back pay and

benefits, loss of self-confidence and self-respect, humiliation and

embarrassment, emotional pain and distress, suffering, inconvenience,

mental anguish, loss of enjoyment of her job and of her life, injury to

reputation, and other pecuniary and non-pecuniary losses. Wherefore,

Plaintiff requests relief against Defendants as follows:

       (a)   Enter declaratory relief that Defendants violated Plaintiff’s

statutory civil rights to be free of disability discrimination, unlawful

retaliation, and free to request and use protected medical leave;

       (b)   Enter injunctive relief ordering Defendants to:

         • provide effective civil rights training for all human resources

             employees and all supervisors on the requirements of all

             applicable laws prohibiting employment discrimination because

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           of disability and complete this training within 60 days of the

           entry of Judgment for Injunctive Relief;

        • provide this training for two years after the date judgment is

           entered to all new human resources and supervisory employees

           within 60 days of their starting the position;

        • maintain attendance sheets identifying each person who

           attended each training session and forward a copy of the

           attendance sheets to Plaintiff’s counsel within seven days of each

           training session;

        • post at each of its worksites a copy of a remedial notice detailing

           the judgment in this case as well as the order providing

           injunctive relief;

        • send a letter printed on Defendants’ letterhead to all of

           Defendants’ employees advising them of the judgment in this

           case, enclosing a copy of their policies regarding reasonable

           accommodations and prohibiting disability discrimination, and

           stating that they will not tolerate any such discrimination or

           denial of reasonable accommodations, and will take appropriate

           disciplinary action against any employee or agent of Defendants

           who engage in such discrimination;



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         (c)     Award Plaintiff back pay for lost wages and benefits and

prejudgment interest thereon and reinstatement to her Operations Manager

position, or, in lieu thereof, front pay for future lost wages and benefits;

         (d)     Award compensatory damages in amounts to be determined at

trial by the jury and prejudgment interest thereon;

         (e)     Award punitive damages in amounts to be determined at trial by

the jury and prejudgment interest thereon;

         (f)     Award Plaintiff full costs and reasonable attorney’s fees; and

         (g)     Award such further relief as is deemed appropriate.


   II.         Failure to Provide Personnel File and Written Statement of Reasons
               for Termination (26 M.R.S. §§630, 631)

   102. The allegations in paragraphs 1-101 are realleged.

   103. By virtue of the foregoing, Molina unlawfully and without good cause

failed to provide Ms. Johnson with a complete copy of her personnel file

within 10 days of her written request, in violation of 26 M.R.S. §631,

“Employee right to review personnel file.”

   104.        By virtue of the foregoing, Molina unlawfully failed to provide Ms.

Johnson with a written statement of the reasons for her termination 15 days

of her written request, in violation of 26 M.R.S. §630, “Written statement of

reason for termination of employment.” Wherefore, Plaintiff requests relief

against Defendant as follows:

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  (a) Enter declaratory relief that Molina unlawfully failed to timely provide

     Ms. Johnson with a complete copy of her personnel file and reasons for

     termination, in violation of 26 M.R.S. §§630-631;

  (b) Award Plaintiff the maximum statutory compensation of $500;

  (c) Award Plaintiff the costs of suit, including her reasonable attorney’s

     fees;

  (d) Award such further equitable relief as is deemed appropriate.



Date: April 10, 2018                Respectfully submitted,



                                    /s/ Carol J. Garvan

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